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                                 SETTLEMENT AGREEMENT


        This Settlement Agreement ("Agreement") is entered into by and between EDWARD
 SCOTT ("Scott") and DEBBIE RICHARDS ("Richards")(collectively "Plaintiffs") and PAUL
 D. SHARMA, ("PDS" ) and co-defendants SHALIN B. SHARMA ("SBS") and NORTH
 AMERICAN INNS, LLC ("NAI") (PDS, SBS and NAI are collectively referred to as the
 "Defendant")

                                           RECITALS

       This Agreement is made with reference to the following facts:

       A.      WHEREAS, Edward Scott and Debbie Richards are Plaintiffs in a lawsuit filed
               against Defendant that is currently pending in the United States District Court for
               the Southem District of Georgia and styled as Edward Scott and Debbie Richsrds
               v. Paul Sharma, Civil Action No. 5:18-cv-00006 (LGW-BWC), (the "Lawsuit");
               and,

       B"      WHEREAS, Defendant denies the validity of Plaintiffs' claims and denies that it
               is subject to any liability; and,

       C.      WHER-EAS, the Parties wish to settle their differences without fu*her
               litigation; and,

       D.      WHEREAS, Defendant            is willing to provide Piaintiffs with certain
               considerations described below, which  it is not required to" provided Plaintiffs
               dismiss their Lawsuit without prejudice, release Defendant from any claims
               Plaintiffs have made or might make relating to the claims set forth in Plaintiffs'
               Complaint, emd agree to comply with the other promises and conditions set forth
               in this Agreement.

       NOW, THEREFORE, in consideration of the mutual covenants and promises contained
herein, and other good and valuable consideration, the receipt and sufficient of which are hereby;
acknowledged by the Parties, the Parties agree to be legally bound by the following terms and
conditions, w.hich constitute full settiement of any and all disputes between them:

       1.      Recitals: The Parties acknowledge that the "WHEREAS" clauses preceding
               paragraph 1 are true and correct, and are incorporated herein as material parts to
               this Agreement.

       2.      Definitions: Throughout this Agreement,       the terms:

               A.   Defendant shall include the following:
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            (i)    Paul D. Sharma. Shaun B. Sharma NAI as well as their estate. successors
                   and assigns, and affiliated corporations.



      3.    Settlement Sum: As consideration for Plaintiffs signing this Agreement and
            compliance with the promises made herein. Defendant PDS (but not SBS or NAI
            which shall have no liability for the payments described below) agrees to pay
            Plaintiffs and their counsel a total of thirty-four thousand nine-hundred eighty
            dollars andzero cents ($34,980.00) (the "Settlement Sum")" as follows:

            a.     Defendant PDS shall issue payment in the amount of $7,728.50, allocated
                   to Scott. This payment shall be characterized as liquidated damages
                   pursuant to the anti-retaliation provisions of the FLSA; and

            b.     Defendant PDS shall issue pavment in the amount of $15,701.50,
                   allocated to Richards. This payment shall be characterized as liquidated
                   damages pursuant to the anti-retaliation provisions of the FLSA; and



                   Defendant PDS shall issue payment in the amount of $11,550.00 allocated
                   to The Kaspers Firm, LLC, far attomey's fees and costs; and


                   The amounts set forth in the immediately preceding paragraphs shall be
                   paid according to the following schedule, with the initial payment due no
                   later than ten (10) days after the approval of this Agreement by the Court,
                   the second payment due no later than thirf"v (30) days after the approval of
                   this Agreement by the Court. and subsequent payments to be paid to The
                   Kaspers Firm, LLC by mail to the address belorv, no later than the
                   thirtieth day thereafter until paid in full as follows:

                   Amount                                  Payment No,
                   $3,480.00                               1

                   $1,000.00+ (each such payment to        2
                   be $1,000.00 at a minimum)
                   $1,000.00+                              J
                   $1,000.00+                              4
                   $1,000.00+                              5
                   $1,000.00+                              6
                   $1,000.00+                              7
                   $1,000.00+                              8
                   $1.000.00+                              9
                   $1,000.00+                              10
                   $1,000.00+                              11
                   $1.000.00+                              12
                   $1,000.00+ (no less than $17,000.00     13


                                             2
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                   in aggregate since payment No. 2)
                   $1,000.00+                               14
                   $1,000.00+                               l5
                   $1,000.00+                               16
                   $1,000.00+                               17
                   $1,000.00+                               18
                   $1,000.00+                               19
                   $1,000.00+ (all remaining amount         20
                   due)

                   MAIL CHECKS TO:

                           The Kaspers Firm, LLC
                           152 New Street, Suite 1098
                           Macon, Georgia 31201
                           TeI. 4A4-944-3128
                           tyler@kaspersfirm.com


            The Kaspers Law Firm shall be responsible for making further distribution of the
                  funds received herein to the proper Plaintiff party or to itself as earned as
                  attorneys' fees- To the extent required for tax accounting. the Kaspers
                  Law Firm shall allocate and inform Defendant PDS how much money was
                  allocated in any tax year to which recipient party.


            e.     Defendant shall provide the consideration identifred in this paragraph 3
                   after receiving all of the following items: (a) a facsimile or electronic copy
                   of this Agreement appropriately signed and dated by Plaintiffs; (2) and, an
                   Order from the Court approving the settlement between the Parties and
                   dismissing, with prejudice, all claims against all Defendants in the maffer
                   of Edward Scott and Debbie Richards v. North American Inns, et al., Civtl
                   Action No. 5:18-cv-00006 (LGW-BWC), currently pending in the United
                   States District Court for the Southern District of Georgia. This
                   Agreement shail not becorne etTective, therefore, and none of the benef,rts
                   set forth in this paragraph will become due or payable, until after the
                   Effective Date of this Agreement (the "Effective Date" defined as the first
                   day after Defendant has received from Plaintiffs all of the items described
                   in this paragraph). Plaintiffs shall also provide a signed original of the
                   Agreement for execution by Defendant's representative. Plaintiffs will be
                   provided with a copy of the fully executed Agreement.

      4.    Consideration: Plaintiffs understand and   agree that they would not receive the
            monies and/or benefits specified in paragraph 3 above, but for his execution of
            this Agreement and the fulfillment of the promises contained herein.
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       5.   General Release of Claims: In exchange for, and in consideration of, the
            payments, benefits, and other commitments described above, Plaintiffs agree to
            and shall dismiss without prejudice the Lawsuit filed against all Defendants
            within 5 days after the Court approves this Agreement.. In addition, Plaintiffs, for
            himself and for each of his heirs, executors, administrators, and assigns, hereby
            fully releases, acquits. and forever discharges Defendant of and from any and all
            claims, liabilities, causes of action, demands to any rights, damages, costs.
            attorneys'fees, expenses, and compensation rvhatsoever, of whatever kind or
            nature, in law, equity or otherwise, whether known or unknown, vested or
            contingent, suspected or unsuspected, that Plaintiffs may now have or has ever
            had related directly or indirectly to the allegations in the Lawsuit, including,
            claims for wages, back pay, front pay, reinstatement, damages, or benefits relating
            to unpaid straight time, overtime compensation, and retaliation.

            a. NOTHING IN THIS AGREEMENT IS INTENDED TO OR SHALL
               PREVENT, IMPEDE OR INTERFERE WITH PLAINTIFFS' NON-
                 WAIVABLE RIGHT. WITHOUT PRIOR NOTICE TO DEFENDANTS, TO
                 PROVIDE INFORMATION TO THE EQUAL EMPLOYMENT
                 OPPORTTINITY COMMISSION. THE NATIONAL LABOR RELATIONS
                 BOARD, THE OCCUPATIONAL SAFETY AND HEALTH
                 ADMINISTRATION. THE SECURITIES AND EXCHANGE
                 COMMISSION OR ANY OTHER FEDERAL, STATE OR LOCAL
                 GOVERNMENT AGENCY OR COMMISSION ("GOVERNMENT
                 AGENCIES''), PARTICIPATE IN INVESTIGATIONS. , TESTIFY IN
                 PROCEEDINGS REGARDING DEFENDANT'S PAST OR FUTURE
                 CONDUCT. OR ENGAGE IN ANY FUTURE ACTIVITIES PROTECTED
                 LINDER TFTE WHISTLEBLOWER STATTiTES ADMINISTERED BY
                 OSHA, OR TO RECEIVE AND FULLY RETAIN A MONETARY AWARD
                 FROM A GOVERNMENT-ADMINISTERED WHISTLEBLOWER
                 AV/ARD PROGRAM FOR PROVIDING INFORMATION DIRECTLY TO
                 ANY GOVERNMENT AGENCIES. NOT WITHSTANDING THE
                 FOREGOING, PLAINTIFF SHALL NOT INITIATE OR FILE ANY SUCH
                 ACTIONS OR COMPLAINTS AGAINST DEFENDANT.

            b.   This Agreement shall not apply to rights or claims that rnay arise after rhe
                 Effective Date of this Agreement; nor shall any provision of this Agreement
                 be interpreted to waive, release, or extinguish any rights that - by express and
                 unequivocal terms of law - may not under any circumstances be waived.
                 released. or extinguished.

      6.    Tax Liabilitv: Plaintiffs understand that Defendant may issue IRS Form 1099s
            for the payments specified in paragraphs 3(a) and (b) of this Agreement that are
            not subject to withholding. ln paying the amount specified in paragraphs 3(a) and
            (b), Defendant makes no representation regarding the tax consequences or
            liability arising from said payments. Plaintiffs understand and agree that any and
            all tax liability that may be due or become due because of the payments
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             referenced in paragraphs 3(a) and (b) of this Agreement are their sole
             responsibility, and that they *'ill pay any such taxes that may be due or become
             due. Defendant has no monetary liability or obligations regarding payment
             whatsoever (other than delivering valid checks in the sums referenced in
             paragraphs 3(a) and (b) of this Agreement to Plaintiffs' counsel). Plaintiffs agree
             to bear all tax consequences" if any, attendant upon the payment to him of the
             above-recited sums. Plaintiffs further agrce to hold Defendant harmless from and
             against any tax or tax withholding claims, amounts, interest, penalties. fines or
             assessments brought or sought by any taxing authority or govemmental agency
             with regard to the sums set forth in paragraphs 3(a) and (b) of this Agreement. In
             the event Defendant receives written notice that any claim or assessments for
             taxes, withholding obligations, penalties andlor interest arising out of this
             settlement are being or w-ill be made against Defendant, Defendant shall
             promptly, after receipt of such written notice, notifu Plaintiffs by letter sent to
             counsel for Plaintiffs.

       7.   Confidentiality and Mutual Non-disparasement: The parties agree to maintain
            the confidentiality of the terms of this Agreement to the extent permissible under
            the Fair Labor Standards Act. Plaintiffagrees not to disparage Defendant.
            Defendant agrees not to disparage Plaintiffs. As used herein, the term
            disparagement shall refer to any negative implication disclosed to any third party
            u,hatsoever, in any for or mediurn, including, without limitation, social medi4
            emails, texts. facebook postings, twitter. Instagram. telephone or verbal
            conversations or any writings of any kind. Defendant agrees to provide
            prospective employers of Plaintiffs with confirmation of their dates of serv-ice to
            Defendant.

             Defendants shall not contact or discuss the terms or existence of this Agreement
             with co-plaintiffShannon Aiken unless required by law.

            This covenant of nondisparagement and confidentiality is a material inducement
            for Defendant to enter into this Setrlement Agreement; Plaintit?s acknowledge
            and agree that breach will subject them to liability and to the cessation of all
            payments due hereunder.

       8.   Affirmations: Plaintiffs represent   arrd   affirm that, other than his Lawsuir
            refbrenced herein, they have no suits, claims" charges, complaints or demands of
            any kind whatsoever currently pending against Defendant with an.v local, state, or
            federal court or any governmental. administrative, investigative, civil rights or
            other agency or board.

       9.   No Assignment: The Parties represent and warrant that no person other than the
            signatories hereto had or has any interest in the matters referred to in this
            Agreement, that the Parties have the sole right and exclusive authority to execute
            this Agreement, and the Parties have not sold, assigned, transferred, conveyed. or
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             otherwise disposed of any claim, demand or legal right that is the subject of this
             Agreement.

       10.   Governins Law and Jurisdiction: This Agreement shall be construed and
             enforced according to the laws of the State of Georgia, except as to the choice of
             law rules thereof or to the extent pre-empted by federal law. All disputes
             concerning the application or enforcement of this Agreement shall, if necessary,
             be tried in a court of competent jurisdiction in Macon-Bibb County or the U.S.
             District Court for the Southern District of Georgia (the "Court"). The parties
             hereby consent to the personal jurisdiction of the courts of Macon-Bibb County
             and the Southern District of Georgia, provided that they shall first request the
             Court, and Magistrate Judge Benjamin W. Cheesebro, to preside over the
             enforcement of this Settlement Agreement to the extent allowed by law.

       11.   l{o Admission of Liabilitv: The Parties agree that neither this Agreement nor the
             furnishing of the consideration for this Agreement shall be deemed or construed at
             any time for any purpose as an admission by Defendant of any liability or
             unlaufirl conduct of any kind. Defendant restates its denial of all liability of an-r,
             kind, and the absence of any finding to the contran,

       12.   Headinss: The headings of the provisions herein are intended for convenient
             reference only, and the same shall not be, nor be deemed to be, interpretative   of
             the contents of such provision.

       13.   Modification of Agreement: This Agreement may not be amended, revoked,
             changed, or modified in any way, except in writing executed by all Parties. No
             rvaiver of any provision of this Agreement will be valid unless it is in writing and
             signed by the party against whom such waiver is charged.

       14.   Interpretation: The language of ail parts of this Agreement shall in ali cases be
             construed as a whole, according to its fair meaning, and not strictly for or against
             any of the Parties. This Agreement has been negotiated by and between attorneys
             for the Parties and shall not be construed against the "drafter" of the Agreement.
             If any portion or provision of this Agreement (including, without implication of
             limitation" any portion or provision of an section of this Agreement) is determined
             to be illegai, invaiid, or unenfbrceable by an)'court of competent jurisdiction and
             cannot be modified to be legal, valid, or enforceable, the remainder of this
             Agreement shall not be affected by such determination and shall be valid and
             enforceable to the fullest extent permitted by law, and said illegal, invalid, or
             unenforceable portion or provision shall be deemed to be a part of this
             Agreement.

             To the extent that any general release or dismissal in this Agreement is deemed to
             be illegal, invalid, or unenforceable, Plaintiffs agree to and shall concurrent
             herewith, execute a valid full and final release of equal scope, covering any and
             all claims. in exchange for the obligations contained in this Agreement and for
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             independent consideration paid and represented therein, in the event such
             payments have not already been made, in order to effectuate a dismissal without
             prejudice of his Lawsuit filed against all Defendants.

       15.   Binding Nature of Asreement: This Agreement shall be binding upon each of
             the Parties and upon their respective heirs, administrators? representatives,
             executors, successors, and assigns. and shall inure to the benefit ofeach party and
             to their respective heirs, administrators, representatives, executors, suscessors,
             and assigns.

       16.   Entire Agreement: This Agreement sets forth the entire Agreement between the
             parties hereto (other than the related documents and agreements ref,erred to herein
             such as the notices of dismissal and motion to approve this Agreement). and fully
             supersedes any prior obligation of Defendant to Plaintiffs. except that it shall not
             supersede any agreement related to confidential and proprietary infbrmation.
             Plaintiffs acknowledge that they have not relied on any representations, promises,
             or agreements of any kind made to him in connection with her decision to accept
             this Agreement, except for those set forth in this Agreement.

       17.   Selective Enforcement: The Parties agree that the failure of any party to enforce
             or exercise any right, condition, term, or provision of this Agreement shall not be
             construed as or deemed a relinquishment or waiver thereof, and the same shall
             continue in full force and effect.

       18.   Counterparts: This Agreement may be executed in two or more counterparts,
             each of which shall be deemed to be an original but all of which together shall
             constitute one and the same instrument.

       19.   Breach: ln the event of a breach of this Agreernent by Plaintiffs, Defendant shall
             have no obligation to make any outstanding payments" [n the event of a breach         of
             this Agreement by Defendant, any amounts trnpaid will be due immediately to
             Plaintiffs. In the event of a breach, the prevailing parry shall be entitled to all
             costs and attorney's fees relating to that breach.

      HAVING ELECTED TO EXECUTE THIS AGREEMENT. TO FULFILL THE
      PROMISES AND TO RECEIVE THE SUMS A}.iD BENEFITS IN PARAGRAI'H 3
      ABOVE, PLAINTIFFS FREELY AND KNOWINGLY, AND AFTER DUE
      CONSIDERATION, ENTERS INTO THIS AGREEMENT INTENDING TO WAIVE,
      SETTLE, AND RELEASE ALL CLAIMS HE HAS OR MIGHT HAVE AGAINST
      DEFENDANT TINDER TTIE FAIR T,ABOR STANDARDS ACT.


      [Signatures on following page]




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               IN WITNESS WHEREOF, the parties hereto knowingly and voluntarily executed
       this Agreement as of the date set forth below:


       PLAINTIFFS


       Dated:                                  By:
                                                      EDWARD SCOTT


       Da&d:    f0 -// - /   f.
       DEFENDANTS


       Dated:                                  By:
                                                      PAUL D. SHARMA


       Dated:                                  By:.
                                                      SHALIN B. SHARMA


       Dated:                                  By: North American Inns, LLC

                                                      By:
                                                             Paul D. Shannq
                                                             Authorized Agent
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                 IN WITNESS WHEREOF, the parties hereto knowingly and voluntarily executed
       this Agreement as of the date set forth below:


       PLAINTIFFS


       oura,     ./C'lO'/     {

                                                        By:
                                                              DEBBIE RICHARDS

       DEFENDANTS


       I)ated:                                          By:
                                                              PAUL D. SHARMA


       Dated:                                           By:
                                                              SHALN B. SHARMA


       Dated:                                           By: North American Inns, LLC


                                                                     Paul D. Sharma,
                                                                     Authorized Agent
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                    IN WITNESS WHEREOF. the parties hereto knowingly and voluntarily executed
           this Agrecrnent as of the date set forth belorv:


           PLAINTIFFS


           Dated:                                         B)',
                                                                   EDWARD SCOTT


                                                          By:
                                                                   DEBBIE RICHARDS

          DEFENDANTS
                                                                       tbt
          Dated: r+^{'tj                                  B)',      4. 'u
                                                                   PAUL D.


          Dated:    lt*t; -t{,
                                                                   SI.IAIJN B. SHAR|\4A


           oatd:
                    ji'f   '/i                            Bv: North American.{ tnarL LLC
                                                                                  ,'t"'
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                                                                   ev,    --ij ,:"A1
                                                                            PaulD. Sharma,
                                                                            Authorized Agant




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